






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00283-CR






Charles Kerr, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BASTROP COUNTY, 21ST JUDICIAL DISTRICT

NO. 12,049, HONORABLE TERRY L. FLENNIKEN, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



		Appellant Charles Kerr has filed what purports to be a pro se notice of appeal from
either a 2006 order placing him on probation or a 2008 order revoking his probation.  In either case,
the district court has certified that this a plea-bargain case and the defendant has no right of appeal.
Additionally, Kerr's notice of appeal, which was filed on April 12, 2012, is untimely.  See Tex. R.
App. P. 26.2(a).  Under the circumstances, we lack jurisdiction to dispose of the purported appeal
in any manner other than by dismissing it for want of jurisdiction.  See Slaton v. State, 981 S.W.2d
208, 210 (Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App. 1996).

		The appeal is dismissed.




						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Rose

Dismissed for Want of Jurisdiction

Filed:   July 13, 2012

Do Not Publish


